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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Criminal Case No. 12-CR-00010-MSK-14

UNITED STATES OF AMERICA,
Plaintiff,

V.

14. THOMAS A. SCHRAH, JR.,

Defendant.

 

PLEA AGREEMENT

 

THE UNITED STATES OF AMERICA, through United States Attorney John F.
Walsh, by the undersigned Assistant U.S. Attorney, hereinafter referred to as the
Government, and the defendant, THOMAS A. SCHRAH, JR., hereinafter referred to as
the defendant, personally, and by his counsel of record, TIMOTHY D. EDSTROM,
Esq., submit the following Plea Agreement and Stipulation of Facts relevant to
sentencing, pursuant to the provisions of Fed. R. Crim. P. 11 and D.C.COLO.LCrR
11.1. Itis the intention of the parties to resolve all pending criminal issues [excluding
any tax issues, if any exist (none are presently known to the parties)] between the
defendant and the Government through the resolution of this case. The parties
understand and agree that in the event the agreement represented herein is not
accepted by the Court or is not entered into by the defendant, the Government will
proceed with the prosecution of the defendant according to law, to include superseding
indictment. Ricketts v. Adamson, 483 U.S. 1, 9-12 (1987)(agreement void and

government permitted to reinstate original charges when defendant failed to complete!

  

Court’s Exhibit

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fulfill his obligations pursuant to the plea agreement). The offer represented by this
plea agreement is withdrawn unless: (1) the defendant files a Notice of Disposition no
later than June 15, 2012; and (2) withdraws or requests the court to suspend and hold
in abeyance any pending pretrial motions until the Court either accepts or rejects the
contemplated plea of guilty. This plea agreement and related communications are
under color of FRE 410.

|. AGREEMENT

A. The defendant agrees to plead guilty to Count Eight of the Second
Superseding Indictment (#469) alleging Misprision of Felony, in violation of 18 U.S.C. §
4.

B. In exchange for his voluntary, knowing and intelligent plea of guilty to
Misprision of Felony, the Government agrees to file a motion to dismiss the First
Superseding Indictment (#180), Indictment (#1) and the remaining counts of the Second
Superseding Indictment in this case as to the defendant, to be effective after the Court
accepts the defendant's plea of guilty.

C. The defendant is aware that 18 U.S.C. § 3742 affords a defendant the right to
appeal the sentence imposed. Understanding this and in exchange for the concessions
made by the government in this agreement, the defendant knowingly and voluntarily
waives the right to appeal any matter in connection with this prosecution, conviction, or
sentence unless it meets one of the following three criteria: (1) the sentence imposed is
above the maximum penalty provided in the statute of conviction, (2) the Court, after

determining the otherwise applicable sentencing guideline range, either departs or
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varies upwardly, or (3) the Court determines that the adjusted offense level is greater
than 8 and imposes a sentence based upon that offense level determination. Except as
provided above, the defendant also knowingly and voluntarily waives the right to appeal
the manner in which the sentence is determined on grounds set forth in 18 U.S.C. §
3742. The defendant also knowingly and voluntarily waives his right to challenge this
prosecution, conviction, or sentence and/or the manner in which it was determined in
any collateral attack, including but not limited to a motion brought under 28 U.S.C. §
2255. This waiver provision, however, will not prevent the defendant from seeking relief
otherwise available if: (1) there is an explicitly retroactive change in the applicable
guidelines or sentencing statute, (2) there is a claim that the defendant was denied the
effective assistance of counsel, or (3) there is a claim of prosecutorial misconduct.
Additionally, if the government appeals the sentence imposed by the Court, the
defendant is released from this waiver provision.

D. In consideration of the defendant's plea of guilty to Misprision of Felony and
the imposition of sentence pursuant to said plea, the Government agrees to recommend
the adjustment for acceptance of responsibility and agrees that the Government will
argue for a sentence within the Guidelines at the time of sentencing.

E. The parties understand the U.S. Sentencing Guidelines are advisory in nature
and the Court will impose a sentence in its sound discretion and in accordance with the
terms of Title 18 U.S.C. Section 3553. By agreement, the Government will be asking for
a sentence within the framework of the Sentencing Guidelines. The defendant and the

Government reserve full rights to contribute or to object to the process setting the
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applicable Guidelines range. The Government may file pleadings, present argument or
offer evidence if the Government believes it is in the best interest of justice to respond
to defense representations and argument or if the Government is of the opinion that an
error has been made by the Probation Department or the Court in determining the
appropriate Guidelines range.
ll, ELEMENTS OF THE OFFENSE

The parties agree with respect to Misprision of felony as charged in the Second
Superseding Indictment, 18 U.S.C. § 4, the elements of the offense to which this plea is
being tendered are as follows:

(1) A federal felony was committed, to wit:

(A) Between on or about August 1, 2010 through on or about March 31, 2011;

(B) within the State and District of Colorado;

(C) other persons grew marijuana plants on premises known to the defendant:

(D) marijuana being a Schedule | controlled substance;

(E) the cultivation of marijuana plants being a felony defined by Title 21 U.S.C.§
841(a)(1) and (b)(1)(D);

(2) The defendant had knowledge of the commission of said felony;

(3) The defendant failed to notify a person in federal authority of said felony as
soon as possible, and

(4) The defendant took part in an affirmative act to conceal the fact that said

federal felony had been committed. See § 2.08, 10" Circuit Pattern Instructions, 2011.
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Ili. STATUTORY PENALTIES

A. The maximum statutory penalty for the offense of Misprision of Felony
charged in the superseding indictment is not more than 3 years imprisonment; a fine of
up to $250,000.00, or both; a term of supervised release of not more than 1 year
following any period of imprisonment; and a $100 special assessment fee.

See Title 18 U.S.C. Section 3559(a).

B. If a person commits a violation of the terms of supervised release or
probation, the Court may impose a period of imprisonment for such a violation, which
may be followed by a period of supervised release.

IV. COLLATERAL CONSEQUENCES

A federal felony conviction may have substantial consequences for a person's
civil rights and abilities, such as the ability to qualify for certain professional licenses, the
right to own, use or carry a firearm, the right to hold elected office, the right to serve on
a jury, or the right to vote during a period of confinement or supervised release.

V. STIPULATION OF FACTS

A. The parties agree there is a factual basis for the guilty plea that the
defendant will tender pursuant to this plea agreement. That basis is set forth below.
Because the Court must, as part of its sentencing methodology, compute the advisory
guideline range for the offenses of conviction, consider relevant offense conduct, and
consider other factors set forth in 18 U.S.C. § 3553, additional facts may be included

below which are pertinent to these considerations and computations. To the extent the
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parties disagree about the facts set forth below, the stipulation of facts identifies which
facts are known to be in dispute at the time of the execution of the plea agreement,

B. This stipulation of facts does not preclude either party from hereafter
presenting the Court with additional facts which do not contradict facts to which the
parties have stipulated and which are relevant to the Court's guideline computations, to
other U.S.C. § 3553 factors, or to the Court’s overall sentencing decision.

C. The parties agree that the date on which the relevant offense conduct began
is on or about August 1, 2010. The parties agree evidence at trial would establish the
following:

(1) Between August 1, 2010 and March 31, 2011;

(2) Sheps Khamsahu and other persons;

(3) cultivated marijuana plants using grow lights and other equipment;

(4) on the premises at 5421 E. 52™ Ave, Commerce City, within the
District of Colorado;

(5) and the defendant was aware of the marijuana grow operation;

(6) and the defendant concealed the marijuana grow operation;

(7) and the defendant did not report the existence of the marijuana grow
operation or the activities of Sheps Knamsahu and other persons tending the marijuana
grow operations to any person in authority or in law enforcement;

(8) and the marijuana plants grew to maturity twice during the period, each

growth cycle resulting in two harvest of at least 2.5 KG but less than 5 KG of marijuana;
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E. The statement of facts herein does not preclude either party from
presenting and arguing, for sentencing purposes, additional facts or evidence which a
party believes relevant to sentencing. Further, the Court is not bound by the factual
stipulations of the parties. In determining the factual basis for the sentence, the Court
may consider not only the stipulations of the parties, but also the results of any pre-
sentencing investigation that will be conducted by the U.S. Probation Department,
together with any other relevant information that may be brought to the Court's attention.
See §1B1.4, U.S.S.G.

Vi. ADVISORY GUIDELINE COMPUTATION AND 3553 ADVISEMENT

A. The parties understand that the imposition of a sentence in this matter is
governed by 18 U.S.C. § 3553. In determining the particular sentence to be imposed,
the Court is required to consider seven factors. One of those factors is the sentencing
range computed by the Court under advisory guidelines issued by the United States
Sentencing Commission. In order to aid the Court in this regard, the parties set forth
below their estimate of the advisory guideline range called for by the United States
Sentencing Guidelines. To the extent that the parties disagree about the guideline
computations, the recitation below identifies which matters are in dispute. The
defendant is also aware that a sentence imposed under the Guidelines does not provide
for parole. Knowing these facts, the defendant agrees this Court has jurisdiction and

authority to impose any sentence within the statutory maximum set for his offenses
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B. The defendant is also aware that any estimate of the probable sentencing
range that he may receive from his counsel, the Government or the Probation
Department,
is a prediction, not a promise, and is not binding upon the Government, the Probation
Department or the Court. The defendant understands and agrees he may not withdraw
his pleas solely as a result of the sentence imposed.

C. The following factors, stipulated to by the parties, are deemed to be
relevant to the sentencing of this defendant under the Guidelines and are intended to
advise the Court and the Probation Department of the parties' calculations in advance of
the preparation of the pre-sentencing investigation report (PSI), as set forth under §
6B1.4 of the Guidelines:

(1) | The government asserts and the parties stipulate the offense level
for marijuana cultivation in this case as to the defendant is 12 under Section
2D1.8(a)(1) and 2D1.1(14)(at least 2.5 KG but less than 5 KG of marijuana).
Under the Guidelines, Misprision of Felony, Section 2X4.1, calls for use of
the adjusted base level of the underlying offense.

(2) The parties stipulate there are no victim-related or obstruction
adjustments. The defendant opposes an upward adjustment for role in the offense;
defendant may choose to argue for a minor role in the offense adjustment.

(3) There are no adjustments for specific offense characteristics.

(4) Provided the defendant files his notice of disposition by the deadline

indicated above and withdraws or withholds his pretrial motions, the
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Government joins in the defendant's request that he receive the full two level
(or three levels if the base offense level is 16 or above) acceptance of
responsibility decrease under §3E1.1(a) and (b). If granted, according to the
Government's calculations, the adjusted offense level would be 10.

(5) The application of Section 2X4.1, results in a reduction by 9 levels, but in
no event resulting in less than offense level 4; the offense level for Misprision
of Felony in this case as to the defendant is offense level 4.

(6) The defendant has only minor traffic type violations on his record.
Government estimates the defendant qualifies for Criminal History Category |.
The defendant does not necessarily agree with the Government's estimate,
and further reserves the right to request a departure or a variance as to the
defendant's Criminal History Category. The parties understand and agree the
Government's estimate regarding the defendant's criminal history category is
a projection, and the final criminal history category will be determined by the
Court following a review of the pre-sentencing investigation report. The
defendant understands and agrees this Plea Agreement is not conditioned
upon the defendant being in a particular criminal history category. The
defendant reserves the right to argue for a lower criminal history
determination. The defendant reserves the right to ask the court to depart
from the guidelines determination of his criminal history category. The
Government may file a response to a motion for a departure or a variant

sentence.
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(7) | The defendant is not eligible for “safety valve” consideration because he

has not fully debriefed with the Government. Section 5C1.2.

GUIDELINES PREDICTION

(D) The Guidelines' sentencing range for Misprision of Felony, resulting from
an adjusted offense level of 4, Criminal History Category |, is a sentence with a term of
imprisonment of 0-6 months. A defendant with offense level 4, Criminal History
Category I, is in Zone A and is therefore eligible under the Guidelines for a sentence of
probation. Section 5B1.1. The maximum guideline range for Level 4, Criminal History
Category VI, is a term of imprisonment of 6-12 months. The parties understand the
Sentencing Guidelines are merely advisory to the Court and understand the Court will
impose a sentence in its sound discretion and in accordance with factors in Title 18
U.S.C. Section 3553. The Court may impose a sentence up to the statutory maximum
provided by law.

(E) Pursuant to §5E1.2, the range of a fine for offense level 4 for the offense
of conviction is $250.00 to $5,000.00.

(F) In the event of conviction and imprisonment, the defendant is subject to
the imposition of a term of supervised release of not more than 1 year and a mandatory

special assessment of $100 per count of conviction.

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(G) The parties understand that although the Court will consider the parties’
estimate, the Court must make its own determination of the guideline range. In doing so,
the Court is not bound by the position of any party.

(H) No estimate by the parties regarding the guideline range precludes either
party from asking the Court, within the overall context of the guidelines, to depart from
that range at sentencing if that party believes that a departure is specifically authorized
by the guidelines or that there exists an aggravating or mitigating circumstance of a
kind, or to a degree, not adequately taken into consideration by the United States
Sentencing Commission in formulating the advisory guidelines. Similarly, no estimate by
the parties regarding the guideline range precludes either party from asking the Court to
vary entirely from the advisory guidelines and to impose a non-guideline sentence
based on other18 U.S.C. §3553 factors.

(I) The parties understand that the Court is free, upon consideration and
proper application of all 18 U.S.C. §3553 factors, to impose that reasonable sentence
which it deems appropriate in the exercise of its discretion and that such sentence may
be less than that called for by the advisory guidelines (in length or form), within the
advisory guideline range, or above the advisory guideline range up to and including
imprisonment for the statutory maximum term, regardless of any computation or position
of any party on any 18 U.S.C. §3553 factor.

Vil. ENTIRE AGREEMENT
This document states the parties’ entire agreement. There are no other

promises, agreements (or “side agreements”), terms, conditions, understandings, or

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assurance, express or implied. In entering this agreement, neither the government nor
the defendant has relied, or is relying, on any terms, promises, conditions, or assurance

not expressly stated in this agreement.

 

Date: 022-Le By: 96954

TIMOTHY D. EDSTROM, ESQ.
ATTORWEY FOR DEFENDANT SCHRAH

Tone SCHRAH. JR. Z
DEFENDANT

Date: WW, Ip By: Guy fv

GUY A
ASSI SyANT U.S. ATTORNEY

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